Case 1:18-cv-01529-LPS Document 29 Filed 04/12/19 Page 1 of 4 PageID #: 176




                                         REDACTED – PUBLIC VERSION
Case 1:18-cv-01529-LPS Document 29 Filed 04/12/19 Page 2 of 4 PageID #: 177
    Case 1:18-cv-01529-LPS Document 29 Filed 04/12/19 Page 3 of 4 PageID #: 178



           6. The Court retains jurisdiction over Pfizer and Sun for the limited purpose of

                enforcing the terms of this Stipulation.



/s/Megan E. Dellinger                              /s/ Karen E. Keller

Jack B. Blumenfeld (#1014)                         John W. Shaw (No. 3362)
Megan E. Dellinger (#5739)                         Karen E. Keller (No. 4489)
MORRIS, NICHOLS, ARSHT & TUNNELL LLP               Nathan R. Hoeschen (No. 6232)
1201 North Market Street                           SHAW KELLER LLP
P.O. Box 1347                                      I.M. Pei Building
Wilmington, DE 19899                               1105 North Market Street, 12th Floor
(302) 658-9200                                     Wilmington, DE 19801
jblumenfeld@mnat.com                               (302) 298-0700
mdellinger@mnat.com                                jshaw@shawkeller.com
                                                   kkeller@shawkeller.com
Attorneys for Plaintiff                            nhoeschen@shawkeller.com

    OF COUNSEL:                                    Attorneys for Defendants
Aaron Stiefel                                      OF COUNSEL:
Daniel P. DiNapoli                                 Huiya Wu
Jeffrey Martin                                     Linnea Cipriano
Philip Smithback                                   GOODWIN PROCTER LLP
Stephanie Piper                                    The New York Times Building 620
ARNOLD & PORTER KAYE SCHOLER LLP                   Eighth Avenue
250 West 55th Street                               New York, NY 10018
New York, NY 10019-9710                            (212) 813-8800
(212) 836-8000
                                                   Katherine M. Fahey
Soumitra Deka                                      GOODWIN PROCTER LLP
ARNOLD & PORTER KAYE SCHOLER LLP                   100 Northern Avenue
Three Embarcadero Center, 10th Floor               Boston, MA 02210
San Francisco, CA 94111-4024                       (617) 570-1000
(415) 471-3100

April 5, 2019

 
SO ORDERED this ______ day of ________________________, 2019.


                                         ______________________________________________
                                          CHIEF UNITED STATES DISTRICT COURT JUDGE

                                                  2
 Case 1:18-cv-01529-LPS Document 29 Filed 04/12/19 Page 4 of 4 PageID #: 179



                               CERTIFICATE OF SERVICE

       I, Karen E. Keller, hereby certify that on April 5, 2019, this document was served on the

persons listed below in the manner indicated:

       BY EMAIL
       Jack B. Blumenfeld                         Aaron Stiefel
       Megan E. Dellinger                         Daniel P. DiNapoli
       MORRIS, NICHOLS, ARSHT                     Jeffrey Martin
        & TUNNELL LLP                             Philip Smithback
       1201 North Market Street                   Stephanie Piper
       P.O. Box 1347                              ARNOLD & PORTER KAYE SCHOLER LLP
       Wilmington, DE 19899-1347                  250 West 55th Street
       (302) 658-9200                             New York, NY 10019-9710
       jblumenfeld@mnat.com                       (212) 836-8000
       mdellinger@mnat.com                        aaron.stiefel@arnoldporter.com
                                                  daniel.dinapoli@arnoldporter.com
                                                  jeffrey.martin@arnoldporter.com
                                                  philip.smithback@arnoldporter.com
                                                  stephanie.piper@arnoldporter.com

       Soumitra Deka
       ARNOLD & PORTER KAYE SCHOLER LLP
       Three Embarcadero Center
       San Francisco, CA 94111-4024
       soumitra.deka@arnoldporter.com



                                                   /s/ Karen E. Keller                         
                                                   John W. Shaw (No. 3362)
                                                   Karen E. Keller (No. 4489)
                                                   Nathan R. Hoeschen (No. 6232)
                                                   SHAW KELLER LLP
                                                   I.M. Pei Building
                                                   1105 North Market Street, 12th Floor
                                                   Wilmington, DE 19801
                                                   (302) 298-0700
                                                   jshaw@shawkeller.com
                                                   kkeller@shawkeller.com
                                                   nhoeschen@shawkeller.com
                                                   Attorneys for Defendants
